Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 1 of 8




                     Exhibit D
                      REDACTED
           Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 2 of 8




      From:    Deb Post
      Sent:    Sun 8/12/2012 4:15 PM (GMT -7)
      To:      Deb Post
      Cc:
      Bcc:
       Subject: William Henig




             From: William Henig, Esq.
      Sent: Sunday, August 12, 2012 1:52 PM
      To: Kush Bambrah
      Cc: Deb Post; Cheryl Moore; Ricardo Mendez
      Subject: Re: Providus: Ramp Up of Existing Project (NW))
       Importance: High

       Please see my responses to the 5 questions. My 2012 conflicts form is also attached. 1 look
       forward to hearing back from you. Thank you.

       Warmest regards,


       William Henig, Esq.




       *****NOTE: This email and any attached files are confidential and intended
       solely for the named addressee(s), and may contain information that is
       privileged and/or exempt from disclosure under applicable law.   In no event
       shall this material be read, used, copied, reproduced, stored or retained by
       anyone other than the named addressee(s).*****
       On 8/10/20 12 3:45 PM, Kush Bambrah wrote:

              Thanks for your response! Please answer the following 5 questions, and please
              respond with all of your responses and materials to myself AND all person's on
              this message, Cheryl Moore, Deb Post, Ric Mendez.

               1 - Are you currently available, can you start August 15th or so? August 16 is best for me

              2 - Have you worked since submitting your QE conflicts? If you have, or if you have not
              already completed this form, you will NEED to submit the attached QE Conficts form
              (please look over the instructions at the bottom of this message). Also, resubmit your resume
              as an MS word attachment. See attached form.

              PLEASE NOTE THAT WE CAN ONLY PRESENT CANDIDATES WHO
              HAVE BOTH COMPLETED RESUME AND QE CONFLICTS




PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                     QE00212005
         Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 3 of 8




           3 - Do you have any scheduling conflicts in the next three months, until October 3l, 2012?
           No

           4 - Please verify that you have not worked for any of the below entities. No, I have not.

           5 - What is your current bar status? I am admitted to NY bar and in good
           standing.

           The parameters of the project are below:

           Parameters:

           Duration: 2 months, could be more could be less.

           Location: 25th and Broadway, Madison Square Park

           Rate: $35 flat

           Hours: 57 mm to 60 max/week, may ramp up higher at times. No cap for hours
           worked per day.

           OT: flat rate over 4Ohrs/week

           Bar: Active any state

           Hours: Mon Fri 8:45a to lop, Sat 9a to 5p.




PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                               QE00212006
         Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 4 of 8




PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                  QE00212007
         Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 5 of 8




PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                 QE00212008
         Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 6 of 8




           CONFLICTS FORM INSTRUCTIONS

           YOU MUST INCLUDE ALL PRIOR LEGAL-RELATED EMPLOYMENT THAT IS
           REFLECTED ON YOUR RESUME - WHETHER AS A CLERK, INTERN, PARALEGAL,
           DOCUMENT REVIEWER, ASSOCIATE, ATTORNEY,
           LITIGATION/TRANSACTIONAL/JUDICIAL, IN-HOUSE, LAW FIRM, ETC. WE WILL
           NOT SUBMIT INCOMPLETE FORMS TO QUINN.




PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                        QE00212009
         Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 7 of 8




           EVERY LEGAL JOB ON YOUR RESUME MUST BE SHOWN ON BOTH QUESTION 2
           AND QUESTION 3 OF THE CONFLICTS FORM LEAVE NOTHING OUT YES,
           EVERY SINGLE POSITION MUST APPEAR TWICE

           THE SAME JOBS MUST SHOW UP IN QUESTIONS 2 AND 3...IF IT'S IN 2, IT MUST
           BE IN 3, AND VICE VERSA.

           Question 2 asks for employer and dates of employment.

           Question 3 asks for detail on what you did, the client, adverse party, nature of case, etc.
           You need to do this for ALL of your legal work, whether you did or didn't obtain
           confidential information.



               <!--[if !supportListsj--><!--[endifj-->Please submit in Microsoft Word or POF
               format - FAXED FORMS WILL NOT BE ACCEPTED.
               <!--[if!supportLists]--><!--Ecndif-->NO HANDWRITTEN RESPONSES.
               <!--[if!supportLists]--><!--[endifj-->Question 1: You must include ALL
               STATES where you are currently, or ever have been, licensed to practice law. You
               must also include the status of your bar membership in each state, whether Active,
               Inactive, Suspended, Ineligible to Practice, etc. as designated by the particular state.
               <!--[if !supportLists]--><!--[endif]-->Question 2: Please include ALL PRIOR
               LEGAL EMPLOYMENT (i.e., at a law firm, company, non-profit or judicial
               clerkship, etc.) and performed in any capacity (i.e., summer associate,
               intern/extern, law clerk, paralegal, attorney, etc.), whether litigation,
               government investigation or transactional in nature. Please attach additional
               sheets if necessary to include all information requested.
               <!--[if ! supportLists] -->< ! --[endif]-->For prior document review work, please
               only include the law firms where you worked. PLEASE DO NOT INCLUDE THE
               AGENCY that placed you on the project. Staffing agencies are irrelevant for
               conflicts purposes.
               <!--[if !supportLists]--><!--[endifj-->Question 3: Please list all legal matters
               on which you have worked (regardless of whether you actually obtained
               confidential information.). Your form will be kicked out if you don't include
               everything. Also, positions on your resume and conflicts form should match
               (i.e., if it's on your resume, it should also be on the conflicts form, and vice
               versa).
               <!--[if !supportLists]--><!--[endif]-->Please include full names of all firms,
               cases, parties, etc. (no abbreviations). If you are unsure about law firm names,
               check the firm's website. You do need to include transactional work, but you can just
               include a short description of what you did in the "Full Case Title" column.
               <!--[if ! supportLists]-->< --[endif]-->Please answer each question completely
               and to the best of your ability. Answers such as "I don't recall," "I don't remember" or
               "?" will slow down the clearing process and possibly jeopardize your chance of being
               selected. If you don't know all of the matters you've worked on, please include as
               much descriptive information as possible. If you represented individuals in personal
               injury actions, just say something like "various individuals."
               <!--[if !supportLists]--><!--{endif]-->Finally, please remember to sign the form -
               electronic signatures (either in your handwriting or printed out, e.g., s/Kush Bambrah)
               are fine.




PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                 QE00212010
         Case 1:13-cv-01432-RA-KNF Document 139-4 Filed 12/29/15 Page 8 of 8




           Kush Bambrah, Esq. Director of Placement, Eastern Region
           Provid us
           1115 Broadway I Twelfth Floor new york, new york 10010 1(646) 378-7972 OFFICE I
           (212) 710-2601 FAX                  CELL

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PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                               QE0021201 1
